
USCA1 Opinion

	










                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

        No. 95-1010

                                    UNITED STATES,

                                      Appellee,

                                          v.

                                    JOSEPH BURKE,

                                Defendant, Appellant.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                     [Hon. William G. Young, U.S. District Judge]
                                             ___________________

                                 ____________________

                                        Before

                                 Stahl, Circuit Judge,
                                        _____________

                           Campbell, Senior Circuit Judge,
                                     ____________________

                              and Lynch, Circuit Judge.
                                         _____________

                                 ____________________

            Rosemary Curran Scapicchio for appellant.
            __________________________
            Dina Michael  Chaitowitz, Assistant United  States Attorney,  with
            ________________________
        whom Donald K.  Stern, United States  Attorney, was on  brief for  the
             ________________
        United States.
                                 ____________________

                                  September 29, 1995

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                      CAMPBELL, Senior Circuit  Judge.  Defendant  Joseph
                                _____________________

            Burke appeals  from an  order of the  United States  District

            Court for  the District of  Massachusetts (the "Massachusetts

            federal court") sentencing him to imprisonment for ten years,

            this  sentence   to  run  consecutively  to  another  federal

            sentence imposed by the United States District Court  for the

            Middle  District of  Florida (the  "Florida federal  court"),

            which Burke is now serving.  Burke committed the instant drug

            offense while serving the earlier sentence.  Section 5G1.3(a)

            of the  United States  Sentencing Guidelines requires  that a

            consecutive  sentence be imposed for offenses committed while

            a defendant is serving another term of imprisonment.  

                      At  his sentencing hearing before the Massachusetts

            federal court, Burke argued  that his ongoing Florida federal

            court sentence  was illegal.1  Burke  urged the Massachusetts

            federal court to recognize this purported illegality, and use

            its discretion to depart from section 5G1.3(a)'s  consecutive

            sentence  requirement.   Burke  contended  that a  concurrent

            sentence would ameliorate the prior error.  The Massachusetts

            federal  court  rejected  Burke's   argument  and  imposed  a

                                
            ____________________

            1.  He  argued  that  the  Florida  federal  court  erred  in
            sentencing him to consecutive sentences.  Burke had committed
            six  armed bank robberies in  Florida.  Two  of the robberies
            were  committed   after  implementation  of   the  Sentencing
            Guidelines, while  four robberies  were committed before  the
            Sentencing Guidelines went into  effect.  The Florida federal
            court sentenced  Burke to 63  months on the  Guideline counts
            and a  consecutive  term of  25  years on  the  non-Guideline
            counts.  Burke did not appeal from this sentence. 

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            consecutive sentence stating:   "I disagree  that I have  the

            discretion  . . . .  A cognate  United States  District Court

            has acted.   I don't sit  in judgment on its  judgments."  On

            appeal  from  the  latter  sentence, Burke  claims  that  the

            court's  belief  that  it   lacked  discretion  to  impose  a

            concurrent sentence in these circumstances was erroneous.

                      We  disagree.    Section 5K2.0  of  the  Sentencing

            Guidelines states that a court may depart  from the Guideline

            sentence if ". . . there exists an aggravating  or mitigating

            circumstance  of a kind, or to a degree, not adequately taken

            into consideration by the Sentencing Commission . . . ."  The

            Massachusetts  federal court  correctly ruled  that  the mere

            claimed  illegality of  a prior  sentence imposed  by another

            federal court presents by itself no such circumstance.   

                      The proper way to challenge the legality of a prior

            federal  sentence would be to  bring an appropriate direct or

            collateral  attack in  the  federal district  court that  had

            jurisdiction  over  that  sentence.   See  Custis  v.  United
                                                  ___  ______      ______

            States,  114 S. Ct. 1732, 1739 (1994).   Burke argues that he
            ______

            did not  ask the  Massachusetts federal court  to vacate  the

            sentence  imposed by  the Florida  federal court,  but simply

            pointed out  the sentence's illegality in  order to encourage

            the  Massachusetts federal  court  to use  its discretion  to

            order a  concurrent sentence.   Necessarily, however, Burke's

            contention would require  the Massachusetts federal  court to



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            ascertain collaterally whether  the sentence  of the  Florida

            federal court which he is now serving was illegal.  The court

            correctly declined to make such an inquiry.

                      In United States v. Paleo, 967 F.2d 7, 11 (1st Cir.
                         _____________    _____

            1992),  this  Court  held   that  "a  federal  defendant  may

            challenge,  in a  sentencing  proceeding, the  constitutional

            validity of  past convictions,  used to increase  his federal

            sentence."  However, Paleo was  narrowed by United States  v.
                                 _____                  _____________

            Isaacs, 14 F.3d  106, 108-110  (1st Cir. 1994).   In  holding
            ______

            that Comment 6 to section 4A1.2  of the Sentencing Guidelines

            no longer expressly authorized the collateral review of prior

            convictions  used  in   calculating  a  defendant's  criminal

            history  category,  the  Isaacs  court also  ruled  that  the
                                     ______

            Constitution  did not  guarantee  the right  to review  prior

            convictions except those  found to be "presumptively  void."2

            Id.  at 110-112.  This holding in Isaacs was further narrowed
            ___                               ______

            by  the Supreme  Court in  Custis, 114  S. Ct.  at 1738.   In
                                       ______

            Custis, the  Court refused  "to extend  the  right to  attack
            ______

            collaterally  prior convictions used for sentence enhancement

            [under the  Armed Career  Criminal Act, 18  U.S.C.    924(e)]

            beyond the right to have appointed counsel . . . ."  Id.  See
                                                                 ___  ___


                                
            ____________________

            2.  The   Isaacs  court   found  that   "presumptively  void"
                      ______
            convictions are those in  which a constitutional violation is
            obvious  on the face of  the prior conviction  and those with
            "structural errors" which are so serious as to  undermine the
            reliability of  an entire  criminal proceeding.   14 F.3d  at
            111-112.

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            also United States  v. Munoz,  36 F.3d 1229,  1237 (1st  Cir.
            ____ _____________     _____

            1994); United States v.  Cordero, 42 F.3d 697, 701  (1st Cir.
                   _____________     _______

            1994).   Although  Custis  and Paleo  involved challenges  to
                               ______      _____

            predicate  convictions under  the Armed Career  Criminal Act,

            while  Isaacs  and the  present  case  involve challenges  to
                   ______

            predicate convictions  under the enhancement  and consecutive

            sentencing  provisions  of  the  Sentencing  Guidelines,  the

            underlying issues  are  much the  same.   In particular,  the

            Custis  Court  emphasized  that  "when  Congress intended  to
            ______

            authorize collateral attacks on prior convictions at the time

            of sentencing, it  knew how to do  so."  114 S.  Ct. at 1736.

            Hence, absent  specific language allowing  collateral attack,

            none  is  permitted  in  a sentencing  proceeding  except  as

            respects  the  appointment of  counsel.    Id.   Because  the
                                                       ___

            Guidelines  and related  materials  make no  provision for  a

            collateral  attack  upon  the  prior  conviction   forming  a

            predicate sentence under section 5G1.3(a), Burke had no right

            at   the   sentencing  hearing   held   below  to   challenge

            collaterally  the  legality  of the  Florida  federal court's

            sentence.

                      To  rule  otherwise  would   hopelessly  complicate

            sentencing  under  the   federal  Guidelines.    In   Custis,
                                                                  ______

            referring to  collateral  review of  state  convictions,  the

            Supreme  Court  noted that  such  an  outcome "would  require

            sentencing courts to  rummage through frequently  nonexistent



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            or  difficult to  obtain state  court transcripts  or records

            that may  date from another era, and may come from any one of

            the  50 States."  Id.  at 1738-1739.   For federal sentences,
                              ___

            the records may  be more accessible,  but the complexity  and

            delay  would  nonetheless  be  considerable.    Moreover,  to

            reexamine  the  legality of  a  sentence  imposed in  another

            federal  jurisdiction  without participation  by  the parties

            involved  in the earlier case could easily lead to error, and

            would strain  the relations between coordinate  courts in the

            federal  system.   Additionally,  the finality  doctrine that

            serves  to  conserve scarce  judicial  resources and  promote

            efficiency would  be compromised.  Quoting  its prior opinion

            in United States v. Addonizio, 442 U.S. 178, 184 n.11 (1979),
               _____________    _________

            the Custis Court cautioned that "'[i]nroads on the concept of
                ______

            finality tend to undermine confidence in the integrity of our

            procedures'  and  inevitably  delay  and  impair the  orderly

            administration of justice."  114 S. Ct. at 1739.  

                      If, as  alleged, Burke  believed  that his  Florida

            federal court  sentence was illegal, his  most obvious course

            was  to have pursued his direct appeal remedy.  Having failed

            to do  so, Burke  may now  find  it harder  to challenge  the

            legality of that sentence,  although in some circumstances he

            may be able to do so.   Title 28 U.S.C.   2255,  for example,

            could on an appropriate occasion afford a remedy, although we

            are not in a position to  know whether Burke would fit within



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            that  statute  here.3   At  Burke's  sentencing hearing,  the

            Massachusetts  federal court thoughtfully  indicated that "if

            through  some sort  of collateral  or direct  attack [Burke's

            counsel] can tip over  or get a recomputation of  the Florida

            sentence, then . . . I would revisit  the issue of the timing

            and the credit to  be adopted in this sentence."   This offer

            was consonant with that  of the Supreme Court in  Custis, 114
                                                              ______

            S. Ct. at 1739.

                      Affirmed.
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            3.  We emphasize that  regardless of whether Burke is able to
            find a way to  challenge the legality of his  prior sentence,
            he   may  not   challenge   its  legality   in  the   present
            Massachusetts federal court sentencing  proceeding, involving
            a  different crime.  See United States  v. Field, 39 F.3d 15,
                                 ___ _____________     _____
            18-19   (1st   Cir.   1994)  (defendant   not   permitted  to
            collaterally attack prior state court conviction offered as a
            predicate for another sentence notwithstanding the absence of
            any  means to attack it  either in state  court or on federal
            habeas corpus review).  

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